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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
DOMINIC A. GAWUGA,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     21 Civ. 5196 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
ISMAILA A. ABUBAKARI and                                               :
COPPER TONES, LLC,                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        For reasons stated on the record during the conference held on November 2, 2021, Plaintiff

Dominic A. Gawuga’s unopposed motion to substitute, Dkt. 14, is granted.

        The Clerk of Court is respectfully directed to terminate the motion pending on Docket 14

and to amend the case caption to substitute Dominic A. Gawuga with Kenneth R. Silverman, Esq.

as the Plaintiff in this action.

        SO ORDERED.

Dated: November 2, 2021                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
